
PER CURIAM:
In these claims, the claimant seeks to recover $52,236.25, of which sum $50,683.58 is the amount of unemployment compensation tax owed by respondent and $1,552.67 is accumulated statutory interest of 1 % per month. The following is a breakdown by tax and interest:
Institution Tax Interest
Hopemont State Hospital $32,774.17 $ 990.77
Lakin State Hospital $ 1,815.80 $ 74.86
Pinecrest State Hospital $14,352.75 $ 433.89
Weston State Hospital $ 1,740.86 $ 53.15
Total $50,683.58 $1,552.67
*84The factual situation in this claim is identical to that in Dept. of Emp. Sec. vs. Dept. of Corrections, 14 Ct.Cl. 387 (1983). Following the precedent established in that decision, the Court makes an award to the claimant in the amount of the unemployment compensation tax, but denies an award, based on W.Va. Code §14-2-12, for the accumulated interest.
Claim No. CC-83-325a, against Denmar State Hospital, was withdrawn as the claim was paid in full.
Award of $50,683.58.
